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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

JOY VERONICA HAYES                                                                    PLAINTIFF

v.                                    Case No. 4:15-cv-04010

STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY                                                      DEFENDANTS

                                              ORDER

       Before the Court is the Report and Recommendation filed June 4, 2015 by the Honorable

Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas. (ECF No.

28). Judge Bryant recommends that all claims against Defendant State Farm be dismissed without

prejudice for lack of subject matter jurisdiction.

       The parties have not filed objections to the Report and Recommendation, and the time to

object has passed. See 28 U.S.C. § 636(b)(1). The Court adopts the Report and Recommendation

in toto. Accordingly, all of Plaintiff’s claims against Defendant State Farm are DISMISSED.

Because the Court does not have subject matter jurisdiction over Plaintiff’s case, all pending

motions, including Defendant State Farm’s Motion for Summary Judgment (ECF No. 15), Plaintiff’s

Motion for Enforcement of Defendant Settle Offer/Agreement (ECF No. 20), and Plaintiff’s Motion

for Removal to Lower Court (ECF No. 24) are hereby DENIED AS MOOT.

       IT IS SO ORDERED, this 23rd day of June, 2015.


                                                             /s/ Susan O. Hickey
                                                             Susan O. Hickey
                                                             United States District Judge
